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The Hon. James P. Donohue
Chief Magistrate Judge

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Daniel Ramirez Medina,
Petitioner,
v.

U.S. DEPARTMENT OF HOMELAND
SECURITY; JOHN KELLY, Secretary of
Homeland Security; NATHALIE ASHER,
Director of the Seattle Field Office of U.S.
Immigration and Customs Enforcement,

Respondents.

AT SEATTLE

CASE NO. 2:17-CV-00218-RSM-JPD

DECLARATION OF MARTIN M.
FLORES IN SUPPORT OF
PETITIONER’S RESPONSE BRIEF RE:
COURT’S FEBRUARY 14, 2017, ORDER
DIRECTING SERVICE, SETTING
STATUS CONFERENCE, AND
SETTING BRIEFING SCHEDULE

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2.

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I, Martin M. Flores, declare as follows:

| have spent the last ten years acting as a consultant on cases regarding gangs.

I have served on approximately 700 cases and testified over 175 times, including consulting
on cases arising in the immigration context. | have worked on cases involving hundreds of
street gangs generally. In addition, | have consulted and researched cases that involve the
Mexican Mafia, Surefios, Nortefios, prison gangs, and transnational gangs and the Mexican
cartels.

In connection with this work, I have interviewed hundreds of gang members (active, non-
active, and former) and their family members, examined hundreds of police reports on gangs,
reviewed gang intelligence, analyzed phone éalls and tattoos, and studied and researched

books, articles, magazines, and internet reports on gangs.

_ [received a B.A. in Chicano Studies, with a minor in education and anthropology, from the

University of California, Berkeley. 1 also pursued courses in community planning and
education at the University of California. Los Angeles.

Prior to my involvement in criminal gang cases, | founded and served as Executive Director
of the Rogelio Flores Foundation, which was established in memory of my youngest brother
who was killed in a drive-by shooting in 1994, We provided our services to the community of
Los Angeles in a lower socioeconomic area addressing education, recreational, mentorship,

and health needs of youth.

_ Lalso served as a Community Programs Coordinator for underserved youth in Inglewood,

California. and served for over a decade as the Executive Director and Youthful Offender
Director of an organization in Los Angeles to implement gang intervention and prevention
programs, In this position, | participated in Gang Task Force Meetings and Subcommittees,
met with law enforcement and community leaders on public safety. and advocated for at-risk
youth.

Through my prior work and extensive testifying and case involvement experience, my areas
of expertise include gang structures; gang politics; interpreting tattoos; identification of hand

signs, symbols, and codes; differentiating gang-motivated crimes from personal erimes,

Geneon, Chew & Declaration of Martin M. Flores

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identifying gang members from individuals part of the same neighborhood; and other
applicable areas.

&. In addition to a number of other gangs, | am familiar with the Surefios: I have studied this
yang. including its tattoos and symbolism.

Q, The term “paisa” is commonly used to refer to people who are recent immigrants and non-
gang members. In fact, the word “paisa” is found in the name of many businesses including
restaurants, tire shops, etcetera. It is shortened from the word “paisano” which translates to
countryman, or an inhabitant of a rural or remote area who is usually characterized by an utter
lack of sophistication and cultivation.

10. [have reviewed photographs of Mr. Daniel Ramirez Medina’s tattoo, which refers to “La
Paz,” “BCS” and has an image of a five-pointed star,

11. In my extensive experience with gang-telated symbols and tattoos, | would not identify this
tattoo as gang-related. | have never seen & gang member with a similar tattoo nor would |
attribute this tattoo to have any gang-related meaning.

12. In particular, this tattoo does not match any of the Surefio symbolism or tattoos that | have
studied. Surefio gangs commonly have an identifier of “13” along with their gang name. Mr.
Ramirez does not have any symbol of “13.” This tattoo also does not match any symbolism
or tattoos that I have seen among gangs that have members who refer to themselves as

13. Thave done extensive research on gangs in various counties including Tulare County where |
understand that Mr, Ramirez grew up, There are no gangs in that area that have the name or
symbols of “La Paz” or “BCS.”

14. The five-pointed star appears to be a nautical star, an extremely common tattoo that
symbolizes the sea and is very popular with the Navy servicemen and others.

15, tis my personal, educational, and professional experience that recognizes that young people
who live in communities where there is gang activity have regular encounters and interactions
with gang members. That does not indicate that they are gang involved, but rather a reality
that exists within their respective communities. It is common to interact with a gang member

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through classmates, family members, neighbors, teammates and friends of friends. This

interaction by itself does not indicate gang membership nor gang association.

I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct.
Executed this sixteenth day of February, 2017, in Los Angeles, California.

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